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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                       Plaintiff,   )    Case No. MJ10-302
                                                      )
10          v.                                        )    DETENTION ORDER
                                                      )
11 JOHN POP,                                          )
                                                      )
12                                    Defendant.      )

13 Offense charged:

14       Conspiracy to Defraud the United States Treasury.

15 Date of Detention Hearing: July 29, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       Defendant admitted he violated his appearance bond by leaving the District without

23 permission of his pre-trial officer. In this case, Mr. Pop and his co-defendants entered Canada



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 1 without permission. They were all arrested at the border of the United States and Canada after

 2 Canadian officials escorted them back to the United States.

 3       It is therefore ORDERED:

 4       (1)        Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9       (3)        On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13       (4)        The clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16       DATED this 29th day of July, 2010.

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                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
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     DETENTION ORDER - 2
